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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re: LYNDEL TOPPIN,                    :     Chapter 13
                 Debtor.                  :
                                          :     Case No. 18-13098-MDC
_____________________________________________________________________________
                                          :
LYNDEL TOPPIN,                            :
                  Movant                  :
v.                                        :     Adv. Proc. No. 18-00137-MDC
                                          :
 JEWELL WILLIAMS, SHERIFF                 :
 OF THE CITY OF PHILADELPHIA and          :
 ABDELDAYEM HASSAN a/k/a                  :
 ABDELDYEM HASSAN,                        :
                  Respondents             :
                                          :

                  DESIGNATION OF RECORD ON APPEAL AND
         STATEMENT OF ISSUES TO BE PRESENTED PURSUANT TO FRBP 8009(a)

          Pursuant to Federal Rule of Bankruptcy Procedure 8009(a), Appellant, Lyndel Toppin
  hereby submits this designation of the record on appeal and statement of issues to be presented in
  connection with the appeal from the Order of the Bankruptcy Court granting Sheriff’s Office
  Motion for Summary Judgment with respect to the Debtor’s request for damages for emotional
  distress and granting Sheriff’s Offices Motion for Directed Verdict (Adv. Docket No. 164), as
  follows:
                            DESIGNATION OF RECORD ON APPEAL


 Description of Document                                 Filing Date               Document No.
 Voluntary Petition, Schedules and Statements            5/8/18               Bk # 1
 BNC Certificate of Mailing - Voluntary Petition         5/12/18             Bk # 6
 Complaint                                               6/11/18             Bk # 14
 Motion to Approve Debtors Motion                        7/2/18               Bk # 15
 for Appointment of Next Friend
 Order entered Granting Motion to Approve Next           7/10/18              Bk # 22
 Friend. Barrington Whyte shall serve as Next
 Friend to permit him to testify on behalf of
 debtor, Lyndel Toppin.
 Order entered Granting Application to Employ            7/26/2019            Bk # 88
 PREDRAG FILIPOVIC, Esq. as Special
 Counsel.
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 Description of Document                            Filing Date         Document No.
Transcript regarding Hearing Held on 8/21/2020     9/24/2020        BK # 125
EMERGENCY MOTION FOR EXPEDITED
CONSIDERATION OF PLAINTIFFS MOTION
TO DISMISS ALL CLAIMS FOR RELIEF
AGAINSTDEFENDANT ABDELDAYEM
HASSAN A/K/A ABDELDYEM HASSAN
FILED BY LYNDEL TOPPIN REPRESENTED
BY STEPHEN MATTHEW DUNNE.
Transcribed by Writer's Cramp,Inc. 268 pages.
The transcript may be viewed at the Bankruptcy
Court Clerk's Office.
Complaint                                          6/11/2018       Adv Pro # 1
 Amended Complaint                                 6/15/18         Adv Pro # 3
 Answer                                            7/19/18         Adv Pro # 7
Supplemental Authority                             9/26/2018       Adv Pro # 22
Second Amended Complaint                           10/24/18        Adv Pro # 29
Exhibit A thru K Filed by STEPHEN                  10/24/2018      Adv Pro # 30
MATTHEW DUNNE on behalf of Lyndel
Toppin
Answer to Second Amended Complaint Filed by        11/21/2018      Adv Pro # 37
Jewell Williams.
Pre-Trial Order. Pre-Trial Conference scheduled    1/3/2019        Adv Pro # 42
7/17/2019 at 11:00 AM at nix2 - Courtroom #2.
Pre-Trial Scheduling Order. Pre-Trial Hearing      2/14/2019       Adv Pro # 46
scheduled 9/18/2019 at 11:00 AM at nix2 -
Courtroom #2
Pre-Trial Scheduling Order. Pre-Trial              7/18/2019       Adv Pro # 56
Conference scheduled 3/25/2020 at 11:00 AM at
nix2 - Courtroom #2
Motion For Summary Judgment Filed by               12/26/19        Adv Pro # 71
Sheriff, Jewell Williams
Memorandum in Support of Motion For                12/26/19        Adv Pro # 72
Summary Judgment Filed by Sheriff, Jewell
Williams
Document in re: Pretrial Disclosures Filed by      1/17/2020       Adv Pro # 88
STEPHEN MATTHEW DUNNE on behalf of
Lyndel Toppin
Response to Motion for Summary Judgment            2/5/2020        Adv Pro # 105
filed by Defendant Jewell Williams Filed by
Lyndel Toppin
Brief Reply Brief in Support of Summary            2/14/2020       Adv Pro # 112
Judgment Filed by MEGAN N. HARPER on
behalf of Jewell Williams
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     Description of Document                          Filing Date       Document No.
Affidavit Re: Sheriffs Efforts to Produce            3/12/2020      Adv Pro # 122
Employee Responsive to the Courts Order Filed
by JOSHUA DOMER on behalf of Jewell
Williams
Supplemental Memorandum in Support                   4/6/2020       Adv Pro # 126
of Motion for Summary Judgment Filed by
MEGAN N. HARPER on behalf of Jewell
Williams
Supplemental Memorandum in Opposition                4/6/2020       Adv Pro # 127
to Motion for Summary Judgment Filed by
STEPHEN MATTHEW DUNNE on behalf of
Lyndel Toppin
Order Governing Procedures At Trial Conducted        6/30/2018      Adv Pro # 128
Remotely By Videoconference on July 17,2020
2 10:30 A.M.
Trial (related document(s)[1])re-scheduled for       7/14/2020      Adv Pro # 137
8/21/2020 at 10:30 AM at nix2 - Courtroom #2.
Order Governing Procedures at Trial Conducted        7/29/2020      Adv Pro # 140
Remotely by Video Conference .
Document in re: Remote Hearing Witness and        8/17/2020         Adv Pro # 147
Exhibit List Filed by MEGAN N. HARPER on
behalf of Jewell Williams
Document in re: Plaintiff's Remote Witness                          Adv Pro # 148
List Filed by STEPHEN MATTHEW DUNNE                  8/17/2020
on behalf of Lyndel Toppin
Evidentiary Trial Held and Concluded                 8/24/2020      Adv Pro # 153
Transcript regarding Hearing Held on 8/21/2020       9/24/2020      Adv Pro # 155
EMERGENCY MOTION FOR EXPEDITED
CONSIDERATION OF PLAINTIFFS MOTION
TO DISMISS ALL CLAIMS FOR RELIEF
AGAINSTDEFENDANT ABDELDAYEM
HASSAN A/K/A ABDELDYEM HASSAN
FILED BY LYNDEL TOPPIN REPRESENTED
BY STEPHEN MATTHEW DUNNE.
Transcribed by Writer's cramp, Inc 268 pages.
The transcript may be viewed at the Bankruptcy
Court Clerk's Office.
Motion for Directed Verdict Filed by Sheriff of      10/8/2020      Adv Pro # 157
the City of Philadelphia Represented by
MEGAN N. HARPER
Memorandum in Support of Motion for Directed         10/8/2020      Adv Pro # 158
Verdict Filed by MEGAN N. HARPER on
behalf of Sheriff of the City of Philadelphia
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 Description of Document                                Filing Date          Document No.
Memorandum in Support of Motion for Directed            10/8/2020       Adv Pro # 158
Verdict Filed by MEGAN N. HARPER on
behalf of Sheriff of the City of Philadelphia
Response to Generic Motion filed by Defendant           10/29/2020      Adv Pro # 161
Sheriff of the City of Philadelphia Filed by
Lyndel Toppin
Supplemental Statement Notice of Supplemental           11/6/2020       Adv Pro # 162
Authority Filed by STEPHEN MATTHEW
DUNNE on behalf of Lyndel Toppin
Hearing Held on Motion for Directed Verdict             11/10/2020      Adv Pro # 163
Filed by Sheriff of the City of Philadelphia
Represented by MEGAN N. HARPER - HELD
UNDER ADVISEMENT
Order entered Granting in part, Denying in part         11/9/2021       Adv Pro # 164
Summary Judgment Motion (Related Doc #
[157]) . It is GRANTED with respect to the
Debtor's request for damages for emotional
distress and DENIED on all other grounds
asserted. 3. The Directed Verdict Motion is
GRANTED. 3. The Debtor's requested relief for
sanctions against the Sheriff's Office pursuant to
Section 362 (k) of the Bankruptcy Code is
DENIED.
Memorandum Order. An Order consistent with              11/9/2021       Adv Pro # 165
this Memorandum will be entered.
Deposition of Barrington Whyte                          12/12/2019      See Attached.
 Sheriff’s Responses to Requests for Admission                          See Attached.
 Revised Trial Stipulations                                             See Attached.
 Plaintiff’s Remote Witness List                                        See Attached.
 Plaintiff’s Exhibit List: P1 to P60                                    See Attached.
Plaintiff's Bates Stamped Trial Exhibit Binder                          See Attached.
with Exhibits labeled P1 through P60
Defendant's Exhibits: D1 to D30                                         See Attached.
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                              STATEMENT OF ISSUES PRESENTED



1. Whether the bankruptcy court erred in finding that evidence at trial failed to establish any actual
damages suffered by Plaintiff as a result of Defendants' violation of the automatic stay provided by
11 U.S.C. § 362(a)?


2. Whether the bankruptcy court erred in holding that a deaf and mute Plaintiff failed to prove
emotional distress damages he suffered as a result of Defendants' violations of the automatic stay
provided by 11 U.S.C. § 362(a) when Plaintiff is unable to testify on his own behalf due to his
disability, and evidence by caretaker/nephew testifying at length to personal observations of
Plaintiff indicated that a reasonable person would suffer significant emotional harm?


3. Whether the bankruptcy court erred in finding that the evidence of actual damage Plaintiff
suffered as a result of Defendant's conduct, produced by Plaintiff in opposition to Defendant's
Motion for Summary Judgment, failed to raise a genuine triable issue of fact pursuant to 11 U.S.C.
§ 362(k)(1)?

4. Whether the bankruptcy court was estopped from finding that there is no triable issue of fact on
the issue of actual damages, and granting partial summary judgment in favor of Defendant on that
issue, by virtue of its decision to conduct a trial on all issues?

5. Whether the bankruptcy court erred in failing to design court procedures in a manner that
excluded Plaintiff, Lyndel Toppin from court’s view when he was present during the entire
testimony of his next of friend, Barryington Whyte, thereby depriving Plaintiff, Lyndel Toppin from
emoting a non-verbal response that impacts Plaintiff’s credibility as a witness?


Dated: December 2, 2021

       By: /s/ Predrag Filipovic                      BY: /s/ Stephen M. Dunne
       Predrag Filipovic, Esquire                     Stephen M. Dunne, Esquire
       1635 Market Street, Suite 1600                 1515 Market Street, Suite 1200
       Philadelphia, PA 19103                         Philadelphia, PA 19102
       267-265-0520 Phone                             (215) 551-7109 Phone
       Attorney for Plaintiff                         Attorney for Plaintiff
